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                                EXHIBIT 9
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                                  HIGHLAND CAPITAL MANAGEMENT, L.P.




 December 3, 2020




 Highland Capital Management Fund Advisors, LP
 c/o Highland Capital Management, L.P.
 300 Crescent Court, Suite 700
 Dallas, Texas 75201
 Attention: Frank Waterhouse, CFO

         Re: Demand on Promissory Notes:

 Dear Mr. Waterhouse,

 Highland Capital Management Fund Advisors, LP (“Maker”) entered into the following
 promissory notes (collectively, the “Notes”), among others,1 in favor of Highland Capital
 Management, L.P. (“Payee”):

Date Issued      Original Principal     Outstanding Principal        Accrued But              Total Amount
                      Amount             Amount (12/11/20)          Unpaid Interest       Outstanding (12/11/20)
                                                                      (12/11/20)
 5/2/2019            $2,400,000             $2,457,517.15             $35,884.46               $2,493,401.61
 5/3/2019            $5,000,000             $5,119,827.40             $74,424.05               $5,194,251.45
  TOTALS             $7,400,000             $7,577,344.55            $110,308.52               $7,687,653.07

 As set forth in Section 2 of each of the Notes, accrued interest and principal is due and payable
 upon the demand of Payee. By this letter, Payee is demanding payment of the accrued interest
 and principal due and payable on the Notes in the aggregate amount of $7,687,653.07, which
 represents all accrued and unpaid interest and principal through and including December 11,
 2020.

 Payment is due on December 11, 2020, and failure to make payment in full on such date
 will constitute an event of default under the Notes.

 Payments on the Notes must be made in immediately available funds. Payee’s wire information
 is attached hereto as Appendix A.

 Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Notes
 or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are


 1
  Maker is also obligated to pay amounts due under promissory notes issued in favor of Payee prior to April 15,
 2019. Pursuant to that certain Acknowledgment from HCMLP, dated as of April 15, 2019, Payee agreed not to
 demand payment on such amounts until May 31, 2021. Payee reserves all rights with respect to such amounts.


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expressly reserved. Interest, including default interest if applicable, on the Notes will continue to
accrue until the Notes are paid in full. Any such interest will remain the obligation of Maker.

Sincerely,

/s/ James P. Seery, Jr.

James P. Seery, Jr.
Highland Capital Management, L.P.
Chief Executive Officer/Chief Restructuring Officer

cc:     Fred Caruso
        James Romey
        Jeffrey Pomerantz
        Ira Kharasch
        Gregory Demo
        DC Sauter




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                                    Appendix A


                  ABA #:          322070381
                  Bank Name:      East West Bank
                  Account Name:   Highland Capital Management, LP
                  Account #:      5500014686
